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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                               :
                                                       :       Case No. 23-CR-26 (RCL)
                                                       :
    v.                                                 :
                                                       :
WILLIAM BROCK,                                         :
                                                       :
         Defendant.                                    :

     GOVERNMENT=S MEMORANDUM IN SUPPORT OF PRETRIAL DETENTION

           The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this memorandum in support of its oral motion that

the defendant be detained pending trial pursuant to 18 U.S.C. § 3142(f)(1)(A) (crime of violence),

and 18 U.S.C. § 3142(f)(1)(E) (a felony involving a firearm) of the federal bail statute. The

government also requests that the defendant be temporarily detained pursuant to 18 U.S.C. §

3142(d)(1)(A)(i) to permit revocation of his release conditions in 2022 CF1 002179, where he was

charged via complaint with Second Degree Murder While Armed and Armed Robbery. 1

           As discussed further below, the defendant stands charged in this case with two counts of

Interference with Interstate Commerce by Robbery, in violation of Title 18 U.S.C. § 1951, two

counts of Bank Robbery, in violation of Title 18 U.S.C. § 2113, and Using, Carrying, Possessing,

and Brandishing a Firearm During and in Relation to a Crime of Violence, in violation of Title 18

U.S.C. § 924(c)(1)(A)(ii).

           The government requests that the following points and authorities, as well as any other



1
  In case 2022 CF1 002179, defendant Brock and his accomplice robbed a drug dealer at gun point
on a public street with pedestrians nearby. Within seconds of being forcibly ousted from his car,
the robbery victim shot at Brock and his accomplice. Brock shot back approximately 13 times. In
the crossfire, an innocent bystander was killed. At the preliminary hearing, the court declined to
find probable cause on the homicide but found probable cause on the armed robbery.
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facts, arguments and authorities presented at the detention hearing, be considered in the Court’s

determination regarding pre-trial detention.

   I.       Procedural History

         On January 24, 2023, the defendant was charged by indictment with the aforementioned

offenses. His initial appearance was held on January 26, 2023 and his detention hearing is

scheduled for February 2, 2023. The government now moves for detention pending trial pursuant

to the above-referenced provisions of the federal bail statute.

   II.      Legal Authority and Argument

         As a preliminary matter, the “rules concerning the admissibility of evidence in criminal

trials do not apply to the presentation and consideration of information at the [detention] hearing.”

18 U.S.C. § 3142(f). Specifically, the presentation of hearsay evidence is permitted. Id.; United

States v. Smith, 79 F.3d 1208, 1210 (D.C. Cir. 1996). Moreover, the government is not required to

“spell out in precise detail how the government will prove its case at trial, nor specify exactly what

sources it will use.” United States v. Martir, 782 F.2d 1141, 1145 (2d Cir. 1986); United States v.

Williams, 798 F. Supp. 34, 36 (D.D.C. 1992). A pretrial detention hearing should not be used as a

discovery device and cross-examination should be limited to the disputed issues, since the

detention hearing is not to be turned into a mini-trial and is not to be used as a subterfuge to obtain

discovery. Smith, 79 F.3d at 1210, see also Williams, 798 F. Supp. at 36.

         Under Section 3142(g), the Court must analyze four factors in determining whether to

detain the defendant pending trial: (1) the nature and circumstances of the offense charged; (2) the

weight of the evidence against the defendant; (3) his history and characteristics; and (4) the nature

and seriousness of the danger to any person or the community that would be posed by his release.

See 18 U.S.C. ' 3142(g). A review and understanding of the facts and circumstances in this case

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require the Court to conclude that there is no condition or combination of conditions that would

assure appearance of the defendant in court or the safety of the community. See 18 U.S.C. '

3142(e)(1).

       A.      Nature and Circumstances of the Offense Charged and the Weight of the
               Evidence

       The first two factors to be considered, the nature and circumstances of the offenses charged

and the weight of the evidence, weigh heavily in favor of detention. On October 6, 2021 and March

2, 2022, the defendant and his co-conspirators committed highly organized armed robberies of

Brinks armored trucks in the vicinity of 1300 Good Hope Road SE, Washington, D.C. Between

the two robberies, the defendant and his co-conspirators stole 1.2 million dollars.

                                 The October 6, 2021 Robbery

       On October 6, 2021, at approximately 9:30 a.m., a Brinks armored truck driver, who was

working alone, was robbed by four people while the truck was parked in front of a bank at 1340

Good Hope Road SE, Washington, D.C. Three of the subjects arrived in a dark blue Infiniti SUV.

The subjects, who were armed with long guns, approached the driver of the armored truck as he

attempted to deliver the money to the bank and stole approximately $103,800. The fourth subject

stayed in the SUV, which fled the scene following the robbery.

       Shortly thereafter, at approximately 9:36 a.m., D.C. Fire & EMS found the vehicle used in

the robbery – a dark blue Infiniti SUV – about .6 miles from the robbery location. The center of

the dashboard area and infotainment system electronics had been set on fire. Law enforcement

discovered that the this vehicle had been reported stolen on September 7, 2021 in Silver Spring,

Maryland. Law enforcement also discovered that the team used secondary escape vehicles once

the dark blue Infiniti was abandoned, to include a gold-colored Infiniti sedan.


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                       Defendant Brock’s Role in the October Robbery

       Defendant Brock was on probation between July 23, 2020 and October 27, 2021 and

subject to GPS Monitoring between March 8, 2021 and October 27, 2021. 2 A review of the

defendant’s GPS location data on October 6, 2021 and video footage in the vicinity of the October

6 robbery revealed his participation in the crime as a look out.

       At approximately 8:36 a.m. on the morning of the robbery, an individual formerly known

as “unidentified subject 1” but now believed to be defendant Brock was seen via surveillance

footage at 14th Street SE and Good Hope Road SE greeting another individual believed to have

participated in the robbery as the getaway driver. 3 In comparing defendant Brock’s GPS location

data with the surveillance footage, law enforcement determined that defendant Brock’s location

was consistent with unidentified subject 1 at this time.




2
 Defendant Brock was on supervision for Attempted Assault with a Dangerous Weapon (Sharp
Object) in D.C. Superior Court Case No. 2017 CF3 003100; for Unlawful Possession of a Firearm
(Crime of Violence), Offenses Committed During Release (Firearm) in D.C. Superior Court Case
No. 2016 CF2 007379; and for Attempted Possession With Intent to Distribute a Controlled
Substance (PCP) in D.C. Superior Court Case No. 2016 CF2 006128.
3

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       Between 8:35 a.m. and 8:45 a.m., unidentified subject 1 walked across the intersection of

14th Street SE and Good Hope Road SE, ending up at the WMATA bus stop on the southwest

corner of the intersection, as depicted below:




Defendant Brock’s GPS location data was consistent with unidentified subject 1’s movements.

       At approximately 8:45 a.m., the gold colored Infiniti sedan (secondary escape vehicle) can

be observed via video surveillance stopping at the intersection of 14th Street SE and Good Hope

Road – where defendant Brock’s GPS indicated he was. Once the escape vehicle stopped at the

intersection, video surveillance captured unidentified subject 1 walking westbound, until he was

lost from camera view at 8:48 a.m. Brock’s GPS device is consistent with unidentified subject 1’s

movements.

       The robbery occurred at 9:24 a.m. at 1340 Good Hope Road SE. At approximately 9:27

a.m., unidentified subject 1 can be observed via video surveillance walking eastbound on Good

Hope Road SE toward 14th Street SE. At approximately 9:29 a.m., while in view of an MPD

surveillance camera, unidentified subject 1 appeared to receive a phone call. At the same time,

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another individual (unidentified subject 2) was observed on a RING surveillance camera walking

hurriedly away from the location where the dark blue Infiniti SUV – the vehicle used in the robbery

– was abandoned and set on fire. This individual appears to be speaking into a phone and can be

heard saying “Hurry up, bro!” Minutes later, unidentified subject 2 got into the gold

Infiniti/secondary escape vehicle with unidentified subject 1 (believed to be defendant Brock). A

visual comparison between one of the subjects who held the victim at gunpoint and unidentified

person 2 revealed that they are likely the same person, wearing what appears to be the same

clothing, shoes, and hat, and appear to have the same height and build, as depicted in the images

below.




         Phone records, video surveillance, and cellular tower data further demonstrate that

“unidentified subject 1” is defendant Brock and that unidentified subject 2 was on the phone with

Brock when he said “Hurry up, bro!” Electronic evidence also suggests that defendant Brock had

two phones at the time of the robbery and unidentified subject 2 was using one of them when he

made that call. Phone records further suggest that Brock was in contact with at least two additional

individuals believed to be involved in the October robbery.

         Defendant Brock’s GPS data and video surveillance capturing the gold Infiniti sedan/

secondary escape vehicle show that defendant Brock left the scene in that car. Following the

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robbery, the gold-colored Infiniti/escape vehicle was observed on surveillance video remaining

stationary in the 1900 block of 14th Street SE in front of a carry out restaurant until approximately

9:29 a.m. At this time, unidentified subject 1 (believed to be Brock), got into the front passenger

seat of the escape vehicle. Another individual got into the driver’s seat. Surveillance footage

further showed the escape vehicle driving southbound on 14th Street SE, across Good Hope Road

SE, at approximately 9:30 a.m., turning westbound onto Chicago Street SE from northbound Martin

Luther King Jr. Avenue SE at approximately 9:32 a.m., then northbound on Shannon Place SE. The

escape vehicle then continued on Shannon Place SE to W Street SE, where unidentified subject 2

(“Hurry up, bro.”) entered the car before it turned eastbound on W Street SE, and southbound on

Martin Luther King Jr. Avenue SE. Defendant Brock’s GPS location data between approximately

9:31 a.m. and 9:37 a.m. is consistent with the secondary escape vehicle’s flight path. The secondary

escape vehicle/gold Infiniti was never recovered by law enforcement.

       Forensic evidence also demonstrates defendant Brock’s role in the October robbery. FBI

Laboratory results from August 22, 2022 revealed a “Very Strong Support for Inclusion” when

BROCK’s DNA was compared with items of evidence from the October 6, 2021 armored car

robbery, specifically, a swab from a section4 of the dark blue Infiniti QX60 (the vehicle used in the

robbery) as well as a swabbing of the head covering also found on the middle seat in a section5 of

that car. Furthermore, the aforementioned FBI Laboratory results also revealed a “Limited Support



4       The FBI Laboratory results’ label of this section of the Infiniti QX60 is “Zone A.” The FBI
Laboratory also indicated that the DNA results from this item of evidence are “9.5 quintillion times
more likely if BROCK and an unknown, unrelated person are contributors than if two unknown,
unrelated people are contributors.”
5       The FBI Laboratory results’ label of this section of the Infiniti QX60 is “Zone C.” The FBI
Laboratory also indicated that the DNA results from this item of evidence are “49 quintillion times
more likely if BROCK is a contributor than if an unknown, unrelated person is a contributor.”

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for Inclusion” when BROCK’s DNA was compared with a swab from another section 6 of the car.

As outlined previously, this car was used in the October 6, 2022 armed robbery and shortly after,

was found abandoned and set on fire in the 2400 block of Shannon Place SE, Washington, D.C. 7

                                  The March 2, 2022 Robbery

       On March 2, 2022, at approximately 8:56 a.m., a dark colored SUV pulled up to and parked

at the northwest corner of the intersection of 14th Street SE and Good Hope Road SE in

Washington, D.C., facing the Truist Bank located at 1340 Good Hope Road SE, Washington, D.C.

No occupants exited the vehicle. Shortly thereafter, a male subject wearing a black hoodie, a light-

colored vest, and tan shoes/boots (“S-1”) approached the corner and sat on the ground at a bus stop

located just outside the passenger’s side of the dark colored SUV.

       At approximately 9:04 a.m., a Brinks armored truck drove into the 1300 block of Good

Hope Road SE and parked in the vicinity of the same Truist Bank. Shortly after, a passenger in the

Brinks armored truck got out. The dark colored SUV (the robbery vehicle) then drove to the rear of

the Brinks truck. S-1 stood up and moved quickly towards the Brinks truck. The driver of the Brinks

armored truck saw an additional subject (“S-2”) run across the street towards the front of the Brinks

truck. The Brinks driver attempted to warn the passenger, but it was too late. Before the victims

could react, another subject with a long arm weapon (“S-3”) exited the passenger’s side of the

robbery vehicle and ran up to the passenger’s side of the Brinks truck. One subject, armed with a

handgun, entered the truck, pointed the handgun at the driver, and handed multiple bags of U.S.

currency to another subject just outside the truck, who carried them back to the dark colored SUV.

The subjects then fled. They stole over $1 million during this robbery.


6
       The FBI Laboratory results’ label of this section of the Infiniti QX60 is “Zone B.”
7
       The FBI Laboratory results as they pertain to other subjects are not included in this filing.

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       Following the robbery at approximately 9:12 a.m., a witness called 9-1-1 to report activity

around 2515 Naylor Road SE. This witness heard a loud noise, consistent with car doors slamming,

coming from the alley in the rear of the building. The witness looked outside and saw four subjects

standing around a parked car, which was later determined to be the dark colored SUV. The witness

saw that all four subjects were wearing dark clothing and face masks and one subject was wearing

a bright colored construction vest. The witness saw the four subjects walk away from the dark

colored SUV. One was carrying what appeared to be a machine gun and another was carrying what

appeared to be a dark plastic bin.

       This witness further saw three of the four subjects stand near a dumpster located at the rear

of 2420 T Street SE. The witness observed a fourth subject standing at the end of the alley that

intersects with the 2400 block of S Street SE. The witness stated when the fourth subject was at the

end of the alley, the subject motioned with his/her hands. The witness then observed a four-door

sedan-style vehicle enter the alley from the location where the fourth subject was motioning. The

witness further stated that all four subjects then entered the four-door sedan, after which the vehicle

drove away from the area.

       When law enforcement searched the area around and behind 2515 Naylor Road SE, they

found the dark colored SUV, which was a Honda Pilot that was previously reported stolen in

Montgomery County, Maryland between the night of February 28, 2022 and the morning of March

1, 2022. Law enforcement also found an AR-style firearm underneath a dumpster located in the rear

of 2420 T Street SE.

                         Defendant Brock’s Role in the March Robbery

       Through its investigation, law enforcement was able to determine that defendant Brock was

one of the subjects who took part in the March robbery. T-Mobile cellular tower data associated

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with the robbery, along with the historical cell site location data for defendant Brock’s telephone

number ending -2150, revealed that on March 2, 2022, at approximately 9:09 a.m., 9:10 a.m., and

9:11 a.m., while in telephonic contact with another subject believed to be a participant, defendant

Brock’s telephone number ending – 2150 utilized a cellular tower in close proximity to the 2515

Naylor Road SE, Washington, D.C. location, where the dark colored SUV was recovered.

       Additionally, T-Mobile Timing Advance location data for defendant Brock’s number

ending – 2150, also revealed that on March 2, 2022 between approximately 9:10 a.m. and 9:13 a.m.,

this device was in close proximity to 2420 T Street SE, Washington, D.C., where law enforcement

recovered the AR-style firearm underneath the dumpster.

       Law enforcement also found evidence corroborating defendant Brock’s participation in the

robberies on his cell phones, which were recovered on April 18, 2022 when the defendant was

arrested on unrelated D.C. Superior Court charges and searched pursuant to United States District

Court for the District of Columbia search warrant 22-SW-121. In addition to evidence on the

phones connecting the defendant to other believed participants, a search of one of the devices

revealed images and information indicative of target casing for the robberies, including: 1)

“armored car tobbery on goid hope rd se dc 2022,” “armored truck robbery in DC 2022,” “bank

robbery in DC 2022,” and “DC most wanted 2022” in the device search history from April 18,

2022; 2) images which appear to be identical to the images of the suspects of the October 6, 2021

robbery which were released in an FBI Seeking Information poster as well as in an MPD press

release from October 7, 2021; 3) an image that appears to be identical to the image of one of the

suspect getaway vehicles from the Mary robbery, which was released in an MPD press release; 4)

images dated March 6, 2022 which appeared to have been taken from inside a vehicle that was

behind a Brinks armored vehicle and an additional image of a Brinks armored vehicle.

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Additionally, the device’s search history contained additional searches, to include area banks and

D.C. criminal defense attorneys. There were also photographs of the interior and exterior of

financial institutions and multiple images of large sums of cash and firearms, including the

following images dated in close proximity to the March robbery:




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       Finally, forensic testing further corroborates defendant Brock’s participation in the March

robbery. Fingerprint testing identified defendant Brock’s print on a plastic bag from the center

console of the dark colored SUV, which the suspects used to flee the scene of the robbery and

abandoned in the vicinity of 2515 Naylor Road SE. Defendant Brock’s print was also found on a

money wrapper, consistent with those used by Brinks, found in the floorboard of the same car.

       As outlined above, the nature and circumstances of these two robberies weigh heavily in

favor of detention. Each was the result of a highly sophisticated plan to use violence and weapons

to steal large sums of cash from an unsuspecting Brinks driver. Defendant Brock’s full

participation in each of these crimes is firmly established through video surveillance, witness

accounts, forensic testing, and electronic evidence, some of which is outlined in this memorandum.

Given the nature and circumstances of the offense and the weight of the evidence against defendant

Brock, he should be detained pending trial.

       B.      The Defendant’s History and Characteristics

       The third factor, the history and characteristics of the person, weighs heavily in favor of

detention. At the time of his arrest in this case, defendant Brock was on pretrial release in case


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2022 CF1 002179. 2022 CF2 002179 stems from a November 15, 2021 incident where defendant

Brock and his accomplice robbed a drug dealer at gun point on a public street with pedestrians

nearby. Within seconds of being forcibly ousted from his car, the robbery victim shot at defendant

Brock and his accomplice. Defendant Brock shot back approximately 13 times. In the crossfire, an

innocent bystander was killed. For his role, defendant Brock was charged by complaint with

second-degree murder while armed and armed robbery. He was initially held without bond based

on his conduct in the case as well as his criminal history. At the preliminary hearing, the court

declined to find probable cause on the homicide, but found probable cause on the armed robbery.

       Defendant Brock committed this armed robbery and shooting in November, shortly after

committing the October Brinks armored truck robbery and months before committing the March

Brinks armored truck robbery. Notably, law enforcement recovered firearms from defendant

Brock’s residence on April 18, 2022 when he was arrested in case 2022 CF1 002179 and on

January 26, 2023 when he was arrested on the instant case.

       In addition to these offenses, he has a serious criminal record reflecting violence and illegal

possession of guns. Defendant Brock committed the November 15, 2021 shooting and armed

robbery just 16 months after being released from a three-year prison term for unlawfully

possessing a firearm in case 2016 CF2 7379. While serving his three-year jail sentence in 2016

CF2 7379, defendant Brock committed a felony assault where he was caught on camera stabbing

an unarmed inmate with a sharp object in the head and neck (case 2017 CF3 3100). In both 2016

CF2 7379 (unlawful possession of a firearm) and 2017 CF3 3100 (felony assault), his term of

supervised release was terminated unsatisfactorily.

       The defendant has additional convictions for Attempted Possession with Intent to

Distribute a Controlled Substance (PCP) in case 2016-CF2-006128 (sentenced to 14 months

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incarceration with 8 suspended), Simple Assault in 2010-CMD-014322 (sentenced to 145 days

incarceration), and a Robbery and Carrying a Dangerous Weapon misdemeanor in 2008-CF3-

019638 (sentenced to 28 months incarceration with 22 months suspended, then resentenced to 22

months incarceration after probation was revoked).

       Considering these factors, the defendant’s history and characteristics weigh in favor of

detention in this case.

       C.      Danger to the Community

       The defendant’s prior criminal conduct and offenses for which he is currently charged are

gravely concerning. Between October 2021 and March of 2022, the defendant committed three

violent robberies, all involving firearms. The October Brinks armored truck robbery occurred

while defendant Brock was on court supervision, clearly indicating that there are no conditions or

combination of conditions apart from detention that can guarantee the safety of the community.

Thus, the government believes the defendant poses a severe danger to the community and should

be detained pending trial.

III.     Conclusion

       The government respectfully requests that the Court issue an Order granting its motion that

the defendant be held without bond pending trial.




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                                   Respectfully submitted,

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